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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

                                 ATLANTA DIVISION


 MARK ANDREWS,

               Plaintiff,
                                                 Case No. 1:22-cv-04259-SDG
        v.

 DINESH D’SOUZA, et al.,

               Defendants.



   DECLARATION OF VON DUBOSE IN SUPPORT OF PLAINTIFF’S
        MOTION FOR PARTIAL SUMMARY JUDGMENT



Pursuant to 28 U.S.C. ¶ 1746, I, Von DuBose, declare as follows:

       1.     I am an attorney and am admitted to practice in Georgia. I represent Plaintiff Mark

              Andrews in the above-captioned action.

       2.     I am over the age of eighteen and make this declaration from personal knowledge

              based on information reviewed and/or referenced herein.

       3.     This declaration is submitted in support of Plaintiff’s Motion for Partial Summary

              Judgment.

       4.     Attached hereto as Exhibit 1 is a true and correct copy of an image of the final

              2000 Mules DVD jacket design, which the D’Souza Defendants produced to

              Plaintiff in discovery as Bates No. DDR-00021736.
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 5.    Attached hereto as Exhibit 2 is a true and correct copy of the 2000 Mules film,

       which Dinesh D’Souza produced to Plaintiff in discovery as Bates No.

       DD_000536.

 6.    Attached hereto as Exhibit 3 is a true and correct copy of a PDF of a Rumble

       webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

       Bates No. MA-0000447.

 7.    Attached hereto as Exhibit 4 is a true and correct copy of a PDF of a Rumble

       webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

       Bates No. MA-0000446.

 8.    Attached hereto as Exhibit 5 is a true and correct copy of a video file of the 2000

       Mules trailer, which was captured by Plaintiff’s counsel from a publicly accessible

       website and produced to Defendants in discovery as Bates No. MA-0000445.

 9.    Attached hereto as Exhibit 6 is a true and correct copy of a video file of Dinesh

       D’Souza’s May 11, 2022 appearance on Tipping Point with Kara McKinney,

       which was captured by Plaintiff’s counsel from a publicly accessible website and

       produced to Defendants in discovery as Bates No. MA-0001059.

 10.   Attached hereto as Exhibit 7 is a true and correct copy of a PDF of a TVEyes

       webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

       Bates No. MA-0000293.

 11.   Attached hereto as Exhibit 8 is a true and correct copy of a video file of Dinesh

       D’Souza’s May 4, 2022 appearance on NTD News on New York news channel

       WMBC 63, which was captured by Plaintiff’s counsel from a publicly accessible

       website and produced to Defendants in discovery as Bates No. MA-0001178.



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 12.   Attached hereto as Exhibit 9 is a true and correct copy of the November 26, 2024

       public statement by Defendant Dinesh D’Souza which was captured by Plaintiff

       on December 2, 2024.

 13.   Attached hereto as Exhibit 10 is a true and correct copy of the D’Souza

       Defendants’ Answer to the Amended Complaint, filed on October 23, 2023.

 14.   Attached hereto as Exhibit 11 is a true and correct copy of the True the Vote’s

       Defendants’ Answer to the Amended Complaint, filed on October 23, 2023.

 15.   Attached hereto as Exhibit 12 is a true and correct copy of the transcript for the

       September 17, 2024 deposition of Defendant Gregg Phillips.

 16.   Attached hereto as Exhibit 13 is a true and correct copy of Defendant Dinesh

       D’Souza’s Responses And Objections To Plaintiff’s First Interrogatories.

 17.   Attached hereto as Exhibit 14 is a true and correct copy of the transcript for the

       October 17, 2024 deposition of Defendant Dinesh D’Souza.

 18.   Attached hereto as Exhibit 15 is a true and correct copy of the transcript for the

       October 16, 2024 deposition of Non-Party Deborah D’Souza.

 19.   Attached hereto as Exhibit 16 is a true and correct copy of a November 23, 2021

       email, which Defendant True the Vote produced to Plaintiff in discovery as Bates

       No. TTV_007087.

 20.   Attached hereto as Exhibit 17 is a true and correct copy of a PDF entitled “Ballot

       Trafficking Project Overview,” which Defendant True the Vote produced to

       Plaintiff in discovery as Bates No. TTV_007088.

 21.   Attached hereto as Exhibit 18 is a true and correct copy of the transcript for the

       September 18, 2024 deposition of Defendant Catherine Engelbrecht.



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 22.   Attached hereto as Exhibit 19 is a true and correct copy of a PDF of a fully

       executed “Limited Liability Company Operating Agreement” which then-

       Defendant Salem Media produced to Plaintiff in discovery as Bates No.

       Salem0000165.

 23.   Attached hereto as Exhibit 20 is a true and correct copy of a PDF of a December

       3, 2021 “Exclusive License and Nondisclosure Agreement,” which then-

       Defendant Salem Media produced to Plaintiff in discovery as Bates No.

       Salem0000215.

 24.   Attached hereto as Exhibit 21 is a true and correct copy of the transcript for the

       November 5, 2024 deposition of Non-Party Nathan Frankowski.

 25.   Attached hereto as Exhibit 22 is a true and correct copy of the transcript for the

       October 22, 2024 deposition of Non-Party Bruce Schooley.

 26.   Attached hereto as Exhibit 23 is a true and correct copy of Defendant Dinesh

       D’Souza’s February 27, 2024 Amended Responses And Objections To Plaintiff’s

       First Interrogatories.

 27.   Attached hereto as Exhibit 24 is a true and correct copy of Defendant D’Souza

       Media LLC’s Responses And Objections To Plaintiff’s Second Set Of

       Interrogatories.

 28.   Attached hereto as Exhibit 25 is a true and correct copy of text messages between

       Deborah D’Souza, Gregg Phillips, and Catherine Engelbrecht dated April 5, 2022

       through April 6, 2022, which the D’Souza Defendants produced to Plaintiff in

       discovery as Bates No. DDR-00056143.




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 29.   Attached hereto as Exhibit 26 is a true and correct copy of text messages between

       four participants dated January 8, 2022 through January 9, 2022, which the

       D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

       00066574.

 30.   Attached hereto as Exhibit 27 is a true and correct copy of Plaintiff’s Exhibit 41

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

       January 15, 2022 email chain produced to Plaintiff in discovery as Bates No.

       TTV_007211.

 31.   Attached hereto as Exhibit 28 is a true and correct copy of Plaintiff’s Exhibit 53

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of an

       April 7, 2022 email chain produced to Plaintiff in discovery as Bates No.

       TTV_007347.

 32.   Attached hereto as Exhibit 29 is a true and correct copy of Plaintiff’s Exhibit 77

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

       January 8, 2022 text chain produced to Plaintiff in discovery as Bates No. DDR-

       00059468.

 33.   Attached hereto as Exhibit 30 is a true and correct copy of a PDF of the 2000

       Mules official site, which Plaintiff Mark Andrews produced to Defendants in

       discovery as Bates No. MA-0000111.

 34.   Attached hereto as Exhibit 31 is a true and correct copy of a PDF of a Salem News

       Channel webpage, which Plaintiff Mark Andrews produced to Defendants in

       discovery as Bates No. PDSA-0001420.




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 35.   Attached hereto as Exhibit 32 is a true and correct copy of a PDF of a Rumble

       webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

       Bates No. MA-0000484.

 36.   Attached hereto as Exhibit 33 is a true and correct copy of a PDF of an April 23,

       2022 Facebook post, which Plaintiff Mark Andrews produced to Defendants in

       discovery as Bates No. MA-0000362.

 37.   Attached hereto as Exhibit 34 is a true and correct copy of a PDF of an April 23,

       2022 Instagram post, which Plaintiff Mark Andrews produced to Defendants in

       discovery as Bates No. MA-0000370.

 38.   Attached hereto as Exhibit 35 is a true and correct copy of Plaintiff’s Exhibit 57

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

       December 30, 2023 email produced to Plaintiff in discovery as Bates No. DDR-

       00049438.

 39.   Attached hereto as Exhibit 36 is a true and correct copy of text messages dated

       April 19, 2022 through April 20, 2022 between Dinesh D’Souza, Deborah

       D’Souza, Bruce Schooley, and Nathan Frankowski, which the D’Souza

       Defendants produced to Plaintiff in discovery as Bates No. DDR-00059516.

 40.   Attached hereto as Exhibit 37 is a true and correct copy of the transcript for the

       October 25, 2024 deposition of Plaintiff Mark Andrews.

 41.   Attached hereto as Exhibit 38 is a true and correct copy of text messages between

       two participants dated November 2, 2022 through November 3, 2022, which the

       D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

       00064924.



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 42.   Attached hereto as Exhibit 39 is a true and correct copy of a PDF of a May 2, 2022

       “Statement Form,” which Defendant True the Vote produced to Plaintiff in

       discovery as Bates No. TTV_000063.

 43.   Attached hereto as Exhibit 40 is a true and correct copy of a video file of the 2000

       Mules trailer, which was captured by Plaintiff’s counsel from a publicly accessible

       website and produced to Defendants in discovery as Bates No. MA-0000451.

 44.   Attached hereto as Exhibit 41 is a true and correct copy of a PDF of a May 12,

       2022 “Investigations Division Summary,” which Plaintiff Mark Andrews

       produced to Defendants in discovery as Bates No. MA-0000203.

 45.   Attached hereto as Exhibit 42 is a true and correct copy of a PDF of a State

       Election Board May 17, 2022 Meeting Summary, which Plaintiff Mark Andrews

       produced to Defendants in discovery as Bates No. MA-0001291.

 46.   Attached hereto as Exhibit 43 is a true and correct copy of the Declaration of

       Courtni Andrews.

 47.   Attached hereto as Exhibit 44 is a true and correct copy of the transcript for the

       October 28, 2024 deposition of Non-Party Brendetta Andrews.

 48.   Attached hereto as Exhibit 45 is a true and correct copy of the transcript for the

       November 6, 2024 deposition of Non-Party Georgia Secretary of State.

 49.   Attached hereto as Exhibit 46 is a true and correct copy of a PDF of an April 25,

       2022 “Official Complaint,” which Defendant True the Vote produced to Plaintiff

       in discovery as Bates No. TTV_000050.




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 50.   Attached hereto as Exhibit 47 is a true and correct copy of a video file of Catherine

       Engelbrecht and Gregg Phillips’ April 20, 2022 interview by The Gateway Pundit,

       which was captured by Plaintiff’s document vendor from a publicly accessible

       website and produced to Defendants in discovery as Bates No. PDSA-0000001.

 51.   Attached hereto as Exhibit 48 is a true and correct copy of Plaintiff’s Exhibit 32

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

       January 31, 2022 Facebook post Plaintiff Mark Andrews produced in discovery

       as Bates No. MA-0000460.

 52.   Attached hereto as Exhibit 49 is a true and correct copy of Plaintiff’s Exhibit 54

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of an

       April 5, 2022 text chain produced to Plaintiff in discovery as Bates No. DDR-

       00056140.

 53.   Attached hereto as Exhibit 50 is a true and correct copy of Plaintiff’s Exhibit 138

       from the deposition of Non-Party Georgia Secretary of State, which is a PDF of a

       Georgia Secretary of State Report of Investigation dated May 12, 2022.

 54.   Attached hereto as Exhibit 51 is a true and correct copy of Plaintiff’s Exhibit 139

       from the deposition of Non-Party Georgia Secretary of State, which is a PDF of a

       Georgia Secretary of State Memorandum of Interview dated May 2, 2022.

 55.   Attached hereto as Exhibit 52 is a true and correct copy of Plaintiff’s Exhibit 140

       from the deposition of Non-Party Georgia Secretary of State, which is a PDF of a

       transcript of the May 17, 2022 Georgia Secretary of State Election Board Hearing.




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 56.   Attached hereto as Exhibit 53 is a true and correct copy of a PDF of a May 12,

       2022 “Investigations Division Summary,” which Defendant True the Vote

       produced to Plaintiff in discovery as Bates No. TTV_000055.

 57.   Attached hereto as Exhibit 54 is a true and correct copy of a video file of the May

       17, 2022 Georgia State Elections Board meeting which was captured by Plaintiff’s

       counsel from a publicly accessible website and produced to Defendants in

       discovery as Bates No. MA-0000802.

 58.   Attached hereto as Exhibit 55 is a true and correct copy of Plaintiff’s Exhibit 70

       from the deposition of Defendant Catherine Engelbrecht, which is a PDF of texts

       between Catherine Engelbrecht, Gregg Phillips, and Dinesh D’Souza produced to

       Plaintiff in discovery as Bates No. DD_000063.

 59.   Attached hereto as Exhibit 56 is a true and correct copy of a PDF of a May 18,

       2022 Twitter post, which Dinesh D’Souza produced to Plaintiff in discovery as

       Bates No. DD_000133.

 60.   Attached hereto as Exhibit 57 is a true and correct copy of a video, which the

       D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

       00004596.

 61.   Attached hereto as Exhibit 58 is a true and correct copy of a PDF of an Atlanta

       Journal-Constitution webpage, which Plaintiff Mark Andrews produced to

       Defendants in discovery as Bates No. MA-0000817.

 62.   Attached hereto as Exhibit 59 is a true and correct copy of a PDF of a D’Souza

       Media webpage, which Plaintiff Mark Andrews produced to Defendants in

       discovery as Bates No. MA-0000188.



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  63.   Attached hereto as Exhibit 60 is a true and correct copy of a PDF of a June 18,

        2022 Twitter post, which Plaintiff Mark Andrews produced to Defendants in

        discovery as Bates No. MA-0000325.

  64.   Attached hereto as Exhibit 61 is a true and correct copy of a May 21, 2022 email

        chain produced by David Cross.

  65.   Attached hereto as Exhibit 62 is a true and correct copy of a May 22, 2022 email

        chain produced by David Cross.

  66.   Attached hereto as Exhibit 63 is a true and correct copy of a PDF of a May 18,

        2022 Truth Social post, which Plaintiff Mark Andrews produced to Defendants in

        discovery as Bates No. MA-0001901.

  67.   Attached hereto as Exhibit 64 is a true and correct copy of a PDF of a May 18,

        2022 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

        as Bates No. PDSA-0001735.

  68.   Attached hereto as Exhibit 65 is a true and correct copy of a PDF of a Rumble

        webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

        Bates No. PDSA-0001913.

  69.   Attached hereto as Exhibit 66 is a true and correct copy of a PDF of a D’Souza

        Media webpage, which Plaintiff Mark Andrews produced to Defendants in

        discovery as Bates No. PDSA-0002126.

  70.   Attached hereto as Exhibit 67 is a true and correct copy of a PDF of a Rumble

        webpage, which is a legible version created using the native file of the document

        Plaintiff Mark Andrews produced to Defendants in discovery as Bates No. PDSA-

        0002010.



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  71.   Attached hereto as Exhibit 68 is a true and correct copy of a PDF of a May 18,

        2022 X post, which is a legible version created using the native file of the

        document Plaintiff Mark Andrews produced to Defendants in discovery as Bates

        No. PDSA-0002157.

  72.   Attached hereto as Exhibit 69 is a true and correct copy of a PDF of a Salem News

        Channel webpage, which Plaintiff Mark Andrews produced to Defendants in

        discovery as Bates No. PDSA-0002167.

  73.   Attached hereto as Exhibit 70 is a true and correct copy of Plaintiff’s Exhibit 87

        from the deposition of Non-Party Deborah D’Souza, which is a PDF of a

        December 30, 2023 email produced to Plaintiff as Bates No. DDR-00049514.

  74.   Attached hereto as Exhibit 71 is a true and correct copy of Plaintiff’s Exhibit 17

        from the deposition of Defendant Gregg Phillips, which is a PDF of a September

        7, 2021 Real True the Vote Instagram Post produced to Plaintiff as Bates No.

        TTV_009860.

  75.   Attached hereto as Exhibit 72 is a true and correct copy of Plaintiff’s Exhibit 29

        from the deposition of Defendant Gregg Phillips, which is a PDF of a May 26,

        2022 email chain produced to Plaintiff as Bates No. TTV_008228.

  76.   Attached hereto as Exhibit 73 is a true and correct copy of an October 24, 2022

        email chain, which Defendant True the Vote produced to Plaintiff in discovery as

        Bates No. TTV_008975.

  77.   Attached hereto as Exhibit 74 is a true and correct copy of Defendant True the

        Vote’s March 18, 2024 Amended Responses And Objections To Plaintiff’s First

        Interrogatories.



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  78.   Attached hereto as Exhibit 75 is a true and correct copy of Defendant True the

        Vote’s August 15, 2024 Response to Plaintiff’s August 9, 2024 Letter.

  79.   Attached hereto as Exhibit 76 is a true and correct copy of an Excel file containing

        “2000 Mules Attendees,” which Defendant True the Vote produced to Plaintiff in

        discovery as Bates No. TTV_007575.

  80.   Attached hereto as Exhibit 77 is a true and correct copy of an email chain dating

        April 8, 2022 through April 10, 2022, which the D’Souza Defendants produced to

        Plaintiff in discovery as Bates No. DDR-00022367.

  81.   Attached hereto as Exhibit 78 is a true and correct copy of a May 21, 2022 email

        chain, which the D’Souza Defendants produced to Plaintiff in discovery as Bates

        No. DDR-00015625.

  82.   Attached hereto as Exhibit 79 is a true and correct copy of a PDF of a March 29,

        2022 publicity proposal from Patricia Jackson to Dinesh and Deborah D’Souza,

        which Defendant True the Vote produced to Plaintiff in discovery as Bates No.

        TTV_006481.

  83.   Attached hereto as Exhibit 80 is a true and correct copy of a March 10, 2022 email,

        which Dinesh D’Souza produced to Plaintiff in discovery as DD_000403.

  84.   Attached hereto as Exhibit 81 is a true and correct copy of a PDF of a March 31,

        2022 email, which Defendant True the Vote produced to Plaintiff in discovery as

        Bates No. TTV_006619.




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  85.   Attached hereto as Exhibit 82 is a true and correct copy of a PDF of a March 29,

        2022 publicity proposal from Patricia Jackson to Dinesh and Deborah D’Souza,

        which Defendant True the Vote produced to Plaintiff in discovery as Bates No.

        TTV_006617.

  86.   Attached hereto as Exhibit 83 is a true and correct copy of an image of text

        messages between Dinesh D’Souza, Deborah D’Souza, Gregg Phillips, and

        Catherine Engelbrecht dated March 13, 2022 through March 16, 2022, which the

        D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

        00049467.

  87.   Attached hereto as Exhibit 84 is a true and correct copy of an image of text

        messages between Dinesh D’Souza, Deborah D’Souza, Gregg Phillips, and

        Catherine Engelbrecht dated March 2, 2022 through March 6, 2022, which the

        D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

        00049475.

  88.   Attached hereto as Exhibit 85 is a true and correct copy of an image of May 18,

        2022 text messages between Dinesh D’Souza, Gregg Phillips, and Catherine

        Engelbrecht, which the D’Souza Defendants produced to Plaintiff in discovery as

        Bates No. DDR-00049513.

  89.   Attached hereto as Exhibit 86 is a true and correct copy of an image of May 5,

        2022 text messages between Dinesh D’Souza, Gregg Phillips, and Catherine

        Engelbrecht, which the D’Souza Defendants produced to Plaintiff in discovery as

        Bates No. DDR-00049527.




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  90.   Attached hereto as Exhibit 87 is a true and correct copy of an image of May 18,

        2022 text messages between Dinesh D’Souza, Gregg Phillips, and Catherine

        Engelbrecht, which the D’Souza Defendants produced to Plaintiff in discovery as

        Bates No. DDR-00049509.

  91.   Attached hereto as Exhibit 88 is a true and correct copy of an image of text

        messages between Dinesh D’Souza, Gregg Phillips, and Catherine Engelbrecht

        dated August 26, 2022 through September 3, 2022, which the D’Souza Defendants

        produced to Plaintiff in discovery as Bates No. DDR-00049489.

  92.   Attached hereto as Exhibit 89 is a true and correct copy of Plaintiff’s Exhibit 14

        from the deposition of Defendant Gregg Phillips, which is a PDF of an April 18,

        2022 text chain produced to Plaintiff as Bates No. DDR-00055904.

  93.   Attached hereto as Exhibit 90 is a true and correct copy of Plaintiff’s Exhibit 38

        from the deposition of Defendant Catherine Engelbrecht, which is a PDF of an

        October 13, 2022 email produced to Plaintiff as Bates No. TTV_008962.

  94.   Attached hereto as Exhibit 91 is a true and correct copy of a document entitled

        “RESPONSE TO BETTINA,” which the D’Souza Defendants produced to

        Plaintiff in discovery as Bates No. DDR-00014305.

  95.   Attached hereto as Exhibit 92 is a true and correct copy of May 3, 2022 text

        messages between two participants, which Non-Party Danielle D’Souza Gill

        produced to Plaintiff in discovery as Bates No. TPDG-0000448.

  96.   Attached hereto as Exhibit 93 is a true and correct copy of a PDF of an April 8,

        2022 Facebook post, which Plaintiff Mark Andrews produced to Defendants in

        discovery as Bates No. TTV_009826.



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  97.    Attached hereto as Exhibit 94 is a true and correct copy of a PDF of an April 9,

         2022 Instagram post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. TTV_009868.

  98.    Attached hereto as Exhibit 95 is a true and correct copy of a PDF of a June 16,

         2022 Truth Social post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. PDSA-0001425.

  99.    Attached hereto as Exhibit 96 is a true and correct copy of a video file showing

         the 2000 Mules Times Square billboard, which was captured by Plaintiff’s

         document vendor from a publicly accessible website and produced to Defendants

         in discovery as Bates No. PDSA-0001435.

  100.   Attached hereto as Exhibit 97 is a true and correct copy of Plaintiff’s Exhibit 1

         from the deposition of Defendant Gregg Phillips, which is the April 8, 2022

         episode of the Charlie Kirk show produced to Defendants in discovery as Bates

         No. MA-0000375.

  101.   Attached hereto as Exhibit 98 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000337.

  102.   Attached hereto as Exhibit 99 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000479.

  103.   Attached hereto as Exhibit 100 is a true and correct copy of a PDF of a Gateway

         Pundit webpage, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. PDSA-0000002.



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  104.   Attached hereto as Exhibit 101 is a true and correct copy of a PDF of a YouTube

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. PDSA-0002171.

  105.   Attached hereto as Exhibit 102 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. PDSA-0002128.

  106.   Attached hereto as Exhibit 103 is a true and correct copy of a video file of

         Catherine Engelbrecht’s May 5, 2022 appearance on Tucker Carlson Tonight,

         which was captured by Plaintiff’s counsel from a publicly accessible website and

         produced to Defendants in discovery as Bates No. MA-0000953.

  107.   Attached hereto as Exhibit 104 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000562.

  108.   Attached hereto as Exhibit 105 is a true and correct copy of a PDF of a May 6,

         2022 Facebook post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0000950.

  109.   Attached hereto as Exhibit 106 is a true and correct copy of a PDF of a May 6,

         2022 Instagram post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0000397.

  110.   Attached hereto as Exhibit 107 is a true and correct copy of a video file of Dinesh

         D’Souza’s May 6, 2022 appearance on The Epoch Times’ Crossroads with Joshua

         Philipp, which was captured by Plaintiff’s counsel from a publicly accessible

         website and produced to Defendants in discovery as Bates No. MA-0001342.



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  111.   Attached hereto as Exhibit 108 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000405.

  112.   Attached hereto as Exhibit 109 is a true and correct copy of a PDF of a May 8,

         2022 Facebook post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0000977.

  113.   Attached hereto as Exhibit 110 is a true and correct copy of a PDF of a May 8,

         2022 Instagram post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0001019.

  114.   Attached hereto as Exhibit 111 is a true and correct copy of a video file of True

         the Vote discussing its plan to release all video and data evidence of fraud not

         included in 2000 Mules, which was captured by Plaintiff’s counsel from a publicly

         accessible website and produced to Defendants in discovery as Bates No. MA-

         0000403.

  115.   Attached hereto as Exhibit 112 is a true and correct copy of a video clip of

         Catherine Engelbrecht and Gregg Phillips’ June 3, 2022 appearance on Facts

         Matter with Roman Balmakov, which was captured by Plaintiff’s counsel from a

         publicly accessible website and produced to Defendants in discovery as Bates No.

         MA-0000471.

  116.   Attached hereto as Exhibit 113 is a true and correct copy of a PDF of a YouTube

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000105.




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  117.   Attached hereto as Exhibit 114 is a true and correct copy of a PDF of an Epoch

         Times webpage, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0000472.

  118.   Attached hereto as Exhibit 115 is a true and correct copy of a True The Vote

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. PDSA-0001725.

  119.   Attached hereto as Exhibit 116 is a true and correct copy of a PDF of a Rumble

         webpage, which is a legible version created using the native file of the document

         Plaintiff Mark Andrews produced to Defendants in discovery No. PDSA-

         0001818.

  120.   Attached hereto as Exhibit 117 is a true and correct copy of a video file of Dinesh

         D’Souza’s May 17, 2022 appearance on Real America with Dan Ball, which was

         captured by Plaintiff’s counsel from a publicly accessible website and produced

         to Defendants in discovery as Bates No. MA-0000295.

  121.   Attached hereto as Exhibit 118 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000296.

  122.   Attached hereto as Exhibit 119 is a true and correct copy of a video file of Dinesh

         D’Souza’s May 21, 2022 appearance on Weekly Briefing with Chanel Rion, which

         was captured by Plaintiff’s counsel from a publicly accessible website and

         produced to Defendants in discovery as Bates No. MA-0001609.




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  123.   Attached hereto as Exhibit 120 is a true and correct copy of a PDF of a May 23,

         2022 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

         as Bates No. PDSA-0001846.

  124.   Attached hereto as Exhibit 121 is a true and correct copy of a video file of Dinesh

         D’Souza’s May 23, 2022 appearance on KUSI News, which was captured by

         Plaintiff’s counsel from a publicly accessible website and produced to Defendants

         in discovery as Bates No. MA-0001047.

  125.   Attached hereto as Exhibit 122 is a true and correct copy of a PDF of a KUSI

         News webpage, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0001043.

  126.   Attached hereto as Exhibit 123 is a true and correct copy of a PDF of a June 16,

         2022 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

         as Bates No. PDSA-0001900.

  127.   Attached hereto as Exhibit 124 is a true and correct copy of a PDF of a June 16,

         2022 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

         as Bates No. PDSA-0001996.

  128.   Attached hereto as Exhibit 125 is a true and correct copy of a PDF of a June 18,

         2022 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

         as Bates No. PDSA-0002009.

  129.   Attached hereto as Exhibit 126 is a true and correct copy of a video file of the

         “music video trailer” for 2000 Mules, which was captured by Plaintiff’s document

         vendor from a publicly accessible website and produced to Defendants in

         discovery as Bates No. PDSA-0001842.



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  130.   Attached hereto as Exhibit 127 is a true and correct copy of a PDF of an October

         22, 2022 Facebook post, which Plaintiff Mark Andrews produced to Defendants

         in discovery as Bates No. PDSA-0001819.

  131.   Attached hereto as Exhibit 128 is a true and correct copy of a PDF of an April 8,

         2022 Instagram post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0000360.

  132.   Attached hereto as Exhibit 129 is a true and correct copy of a PDF of a Facebook

         post, which Plaintiff Mark Andrews produced to Defendants in discovery as Bates

         No. MA-0000374.

  133.   Attached hereto as Exhibit 130 is a true and correct copy of Plaintiff’s Exhibit 11

         from the deposition of Gregg Phillips, which is a PDF of text messages between

         Catherine Engelbrecht, Gregg Phillips, Deborah D’Souza, and Dinesh D’Souza

         produced to Plaintiff in discovery as Bates No. DD_000087.

  134.   Attached hereto as Exhibit 131 is a true and correct copy of March 22, 2022 text

         messages between Dinesh D’Souza and “Charlie,” which the D’Souza Defendants

         produced to Plaintiff in discovery as Bates No. DDR-00064600.

  135.   Attached hereto as Exhibit 132 is a true and correct copy of a PDF of a Rumble

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000438.

  136.   Attached hereto as Exhibit 133 is a true and correct copy of a PDF of an October

         7, 2019 “Publishing Agreement,” which the Defendant Regnery Publishing

         produced to Plaintiff in discovery as Bates No. Regnery0000011.




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  137.   Attached hereto as Exhibit 134 is a true and correct copy of a PDF of the original

         version of “2000 Mules: They Thought We’d Never Find Out. They Were

         Wrong,” which Non-Party Patricia Jackson produced to Plaintiff in discovery.

  138.   Attached hereto as Exhibit 135 is a true and correct copy of the 2000 Mules Book,

         which Dinesh D’Souza produced to Plaintiff in discovery as Bates No.

         DD_000535.

  139.   Attached hereto as Exhibit 136 is a true and correct copy of a March 13, 2022

         email, which the D’Souza Defendants produced to Plaintiff in discovery as Bates

         No. DDR-00046615.

  140.   Attached hereto as Exhibit 137 is a true and correct copy of a PDF of an August

         26, 2022 email, which Dinesh D’Souza produced to Plaintiff in discovery as Bates

         No. DD_000044.

  141.   Attached hereto as Exhibit 138 is a true and correct copy of a PDF of an August

         29, 2022 email, which Dinesh D’Souza produced to Plaintiff in discovery as Bates

         No. DD_000045.

  142.   Attached hereto as Exhibit 139 is a true and correct copy of a September 6, 2022

         email, which Defendant True the Vote produced to Plaintiff in discovery as Bates

         No. TTV_008771.

  143.   Attached hereto as Exhibit 140 is a true and correct copy of a September 6, 2022

         email chain, which Defendant True the Vote produced to Plaintiff in discovery as

         Bates No. TTV_008774.

  144.   Attached hereto as Exhibit 141 is a true and correct copy of September 8, 2022

         email chain, which Non-Party Patricia Jackson produced to Plaintiff in discovery.



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  145.   Attached hereto as Exhibit 142 is a true and correct copy of a PDF of an NPR

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0001905.

  146.   Attached hereto as Exhibit 143 is a true and correct copy of the ACLED

         Deposition Exhibit 8, which is a PDF of a document titled “Settlement and Release

         of Claims Agreement” produced to Plaintiff in discovery as Bates No.

         ACLED0001.

  147.   Attached hereto as Exhibit 144 is a true and correct copy of the ACLED

         Deposition Exhibit 9, which is a PDF of a November 8, 2022 document titled

         “Important Notice” produced to Plaintiff in discovery as Bates No. ACLED0007.

  148.   Attached hereto as Exhibit 145 is a true and correct copy of the ACLED

         Deposition Exhibit 7, which is a PDF of a document titled “Incorrect References

         to ACLED in ‘2,000 Mules’” produced to Plaintiff in discovery as Bates No.

         ACLED0008.

  149.   Attached hereto as Exhibit 146 is a true and correct copy of a PDF of an August

         29, 2022 email, which Dinesh D’Souza produced to Plaintiff in discovery as Bates

         No. DD_000047.

  150.   Attached hereto as Exhibit 147 is a true and correct copy of an October 3, 2022

         email chain, which Defendant True the Vote produced to Plaintiff in discovery as

         Bates No. TTV_008858.

  151.   Attached hereto as Exhibit 148 is a true and correct copy of a PDF of an October

         3, 2022 letter from Von A. DuBose, which Defendant True the Vote produced to

         Plaintiff in discovery as Bates No. TTV_008860.



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  152.   Attached hereto as Exhibit 149 is a true and correct copy of an email thread dated

         October 11, 2022 through October 12, 2022, which the D’Souza Defendants

         produced to Plaintiff in discovery as Bates No. DDR-00053438.

  153.   Attached hereto as Exhibit 150 is a true and correct copy of a PDF of a Simon &

         Schuster webpage, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. PDSA-0001631.

  154.   Attached hereto as Exhibit 151 is a true and correct copy of a PDF of an Amazon

         webpage, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. PDSA-0001640.

  155.   Attached hereto as Exhibit 152 is a true and correct copy of a May 16, 2022 text

         message from Amy Gardner to Mark Andrews, which Plaintiff Mark Andrews

         produced to Defendants in discovery as Bates No. MA-0000027.

  156.   Attached hereto as Exhibit 153 is a true and correct copy of a PDF of an Instagram

         message from Ali Swenson to Courtni Andrews, which Plaintiff Mark Andrews

         produced to Defendants in discovery as Bates No. MA-0000038.

  157.   Attached hereto as Exhibit 154 is a true and correct copy of a PDF of a May 23,

         2022 LinkedIn message from Ali Swenson to Courtni Andrews, which Plaintiff

         Mark Andrews produced to Defendants in discovery as Bates No. MA-0000078.

  158.   Attached hereto as Exhibit 155 is a true and correct copy of Plaintiff Mark

         Andrews’ First Supplemental Responses And Objections To Defendant D’Souza

         Media LLC’s Third Set Of Interrogatories To Plaintiff.

  159.   Attached hereto as Exhibit 156 is a true and correct copy of the transcript for the

         November 1, 2024 deposition of Non-Party Brian Beasley.



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  160.   Attached hereto as Exhibit 157 is a true and correct copy of the transcript for the

         August 14, 2024 deposition of Non-Party Kelly Black Coveleskie.

  161.   Attached hereto as Exhibit 158 is a true and correct copy of the transcript for the

         August 9, 2024 deposition of Non-Party Kelly Moyer.

  162.   Attached hereto as Exhibit 159 is a true and correct copy of a PDF of a December

         29, 2023 Facebook post, which Plaintiff Mark Andrews produced to Defendants

         in discovery as Bates No. PDSA-0000477.

  163.   Attached hereto as Exhibit 160 is a true and correct copy of a PDF of a Rumble

         webpage, which is a legible version created using the native file of the document

         Plaintiff Mark Andrews produced to Defendants in discovery as Bates No. PDSA-

         0000570.

  164.   Attached hereto as Exhibit 161 is a true and correct copy of a PDF of an

         Americasbestpics.com post, which is a legible version created using the native file

         of the document Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. PDSA-0001096.

  165.   Attached hereto as Exhibit 162 is a true and correct copy of a PDF of an August

         1, 2022 Twitter post, which Dinesh D’Souza produced to Plaintiff in discovery as

         Bates No. MA-0001704.

  166.   Attached hereto as Exhibit 163 is a true and correct copy of a PDF of a June 1,

         2024 Right Scoop Article titled “Salem Media deletes 2020 election film ‘2000

         Mules’ from all streaming services, apologizes for airing it,” which is a legible

         version created using the native file of the document Plaintiff Mark Andrews

         produced to Defendants in discovery as Bates No. PDSA-0000468.



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  167.   Attached hereto as Exhibit 164 is a true and correct copy of a PDF of a May 31,

         2024 Truth Social post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. PDSA-0001055.

  168.   Attached hereto as Exhibit 165 is a true and correct copy of a PDF of a July 18,

         2023 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

         as Bates No. MA-0001963.

  169.   Attached hereto as Exhibit 166 is a true and correct copy of a PDF of a December

         25, 2023 X post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0001964.

  170.   Attached hereto as Exhibit 167 is a true and correct copy of a PDF of an October

         16, 2023 X post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0001972.

  171.   Attached hereto as Exhibit 168 is a true and correct copy of a PDF of a November

         2, 2023 X post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0001984.

  172.   Attached hereto as Exhibit 169 is a true and correct copy of a PDF of a November

         2, 2023 X post, which Plaintiff Mark Andrews produced to Defendants in

         discovery as Bates No. MA-0002003.

  173.   Attached hereto as Exhibit 170 is a true and correct copy of a PDF of a July 18,

         2023 X post, which Plaintiff Mark Andrews produced to Defendants in discovery

         as Bates No. MA-0002029.




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  174.   Attached hereto as Exhibit 171 is a true and correct copy of a PDF of a September

         23, 2022 Walmart receipt, which Plaintiff Mark Andrews produced to Defendants

         in discovery as Bates No. MA-0000092.

  175.   Attached hereto as Exhibit 172 is a true and correct copy of a PDF of a November

         15, 2023 receipt for an “Arlo Essential Outdoor Camera,” which Plaintiff Mark

         Andrews produced to Defendants in discovery as Bates No. MA-0000102.

  176.   Attached hereto as Exhibit 173 is a true and correct copy of a PDF of an ADT

         “Smart Home + Security Solution” order, which Plaintiff Mark Andrews produced

         to Defendants in discovery as Bates No. MA-0000088.

  177.   Attached hereto as Exhibit 174 is a true and correct copy of a PDF of a September

         28, 2022 receipt for a “floodlight mount accessory,” which Plaintiff Mark

         Andrews produced to Defendants in discovery as Bates No. MA-0000101.

  178.   Attached hereto as Exhibit 175 is a true and correct copy of a PDF of a DeleteMe

         receipt, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000099.

  179.   Attached hereto as Exhibit 176 is a true and correct copy of a PDF of a September

         10, 2022 DeleteMe receipt, which Plaintiff Mark Andrews produced to

         Defendants in discovery as Bates No. MA-0000100.

  180.   Attached hereto as Exhibit 177 is a true and correct copy of Plaintiff Mark

         Andrews’ Second Supplemental Responses And Objections To Defendant True

         The Vote, Inc.’s First Interrogatories To Plaintiff.




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  181.   Attached hereto as Exhibit 178 is a true and correct copy of a PDF of a May 6,

         2022 ADT “Residential Services Contract,” which Plaintiff Mark Andrews

         produced to Defendants in discovery as Bates No. MA-0000087.

  182.   Attached hereto as Exhibit 179 is a true and correct copy of a PDF of a September

         23, 2022 Walmart receipt, which Plaintiff Mark Andrews produced to Defendants

         in discovery as Bates No. MA-0000090.

  183.   Attached hereto as Exhibit 180 is a true and correct copy of a PDF of a Blink

         Subscription Plan order history dating from October 31, 2022 to January 31, 2024,

         which Plaintiff Mark Andrews produced to Defendants in discovery as Bates No.

         MA-0000093.

  184.   Attached hereto as Exhibit 181 is a true and correct copy of Defendant True The

         Vote Inc.’s Responses And Objections To Plaintiff’s Second Set Of

         Interrogatories.

  185.   Attached hereto as Exhibit 182 is a true and correct copy of the transcript for the

         October 30, 2024 deposition of Non-Party Ben Matthews.

  186.   Attached hereto as Exhibit 183 is a true and correct copy of the transcript for the

         October 30, 2024 deposition of Non-Party Tim Gerwing.

  187.   Attached hereto as Exhibit 184 is a true and correct copy of a PDF entitled

         “Exhibits A-P” which Defendant True the Vote produced to Plaintiff in discovery

         as Bates No. TTV_006821.

  188.   Attached hereto as Exhibit 185 is a true and correct copy of the transcript for the

         October 30, 2024 deposition of Non-Party Azeddine Rahlouni.




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  189.   Attached hereto as Exhibit 186 is a true and correct copy of Defendant True The

         Vote’s Responses and Objections to Plaintiff’s Amended Interrogatories 15 and

         16.

  190.   Attached hereto as Exhibit 187 is a true and correct copy of Docket Entry 228 in

         this proceeding, the transcript from the October 21, 2024 hearing.

  191.   Attached hereto as Exhibit 188 is a true and correct copy of Defendant Catherine

         Engelbrecht’s Second Amended Responses to Plaintiff’s First Set of

         Interrogatories.

  192.   Attached hereto as Exhibit 189 is a true and correct copy of the ACLED

         Deposition Exhibit 1, which is a document titled “Armed Conflict Location &

         Event Data Project (ACLED) Codebook” produced to Plaintiff in discovery as

         ACLED0013.

  193.   Attached hereto as Exhibit 190 is a true and correct copy of the transcript for the

         June 18, 2024 deposition of Non-Party ACLED.

  194.   Attached hereto as Exhibit 191 is a true and correct copy of the ACLED

         Deposition Exhibit 5, which is a PDF of a May 17, 2022 NPR article titled “A pro-

         Trump film suggests its data are so accurate, it solved a murder. That’s false”

         captured by Plaintiff’s counsel from a publicly accessible website.

  195.   Attached hereto as Exhibit 192 is a true and correct copy of the transcript for the

         November 26, 2024 deposition of Defendant Salem Media.




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  196.   Attached hereto as Exhibit 193 is a true and correct copy of Plaintiff’s Exhibit 80

         from the deposition of Non-Party Deborah D’Souza, which is a PDF of an April

         7, 2022 email chain produced to Plaintiff in discovery as Bates No. TPNF-

         0001637.

  197.   Attached hereto as Exhibit 194 is a true and correct copy of a PDF of a January

         10, 2022 email chain, which Defendant Dinesh D’Souza produced to Plaintiff in

         discovery as Bates No. DD_000157.

  198.   Attached hereto as Exhibit 195 is a true and correct copy of an image of text

         messages between Dinesh D’Souza, Gregg Phillips, Catherine Engelbrecht, which

         the D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00049511.

  199.   Attached hereto as Exhibit 196 is a true and correct copy of a video, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00000063.

  200.   Attached hereto as Exhibit 197 is a true and correct copy of an image of text

         messages between Dinesh D’Souza, Gregg Phillips, and Catherine Engelbrecht,

         which the D’Souza Defendants produced to Plaintiff in discovery as Bates No.

         DDR-00049499.

  201.   Attached hereto as Exhibit 198 is a true and correct copy of a January 10, 2022

         email chain, which Non-Party Nathan Frankowski produced to Plaintiff in

         discovery as Bates No. TPNF-0001270.




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  202.   Attached hereto as Exhibit 199 is a true and correct copy of an April 5, 2022 email

         chain, which Non-Party Nathan Frankowski produced to Plaintiff in discovery as

         Bates No. TPNF-0004778.

  203.   Attached hereto as Exhibit 200 is a true and correct copy of January 10, 2022 text

         messages between Deborah D’Souza, Gregg Phillips, and Catherine Engelbrecht,

         which the D’Souza Defendants produced to Plaintiff in discovery as Bates No.

         DDR-00056096.

  204.   Attached hereto as Exhibit 201 is a true and correct copy of text messages between

         Dinesh D’Souza and Deborah D’Souza dated May 25, 2022 through May 26,

         2022, which the D’Souza Defendants produced to Plaintiff in discovery as Bates

         No. DDR-00058246.

  205.   Attached hereto as Exhibit 202 is a true and correct copy of May 23, 2022 text

         messages between two participants, which the D’Souza Defendants produced to

         Plaintiff in discovery as Bates No. DDR-00065357.

  206.   Attached hereto as Exhibit 203 is a true and correct copy of an audio file of a

         podcast, which Plaintiff Mark Andrews produced to Defendants in discovery as

         Bates No. MA-0000509.

  207.   Attached hereto as Exhibit 204 is a true and correct copy of Plaintiff’s Exhibit 23

         from the deposition of Defendant Gregg Phillips, which is a PDF of a December

         9, 2021 email produced to Plaintiff in discovery as Bates No. TTV_007191.

  208.   Attached hereto as Exhibit 205 is a true and correct copy of a June 10, 2022 email,

         which the D’Souza Defendants produced to Plaintiff in discovery as Bates No.

         DDR-00051352.



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  209.   Attached hereto as Exhibit 206 is a true and correct copy of a PDF of “E Election

         Beat Sheet,” which Non-Party Nathan Frankowski produced to Plaintiff in

         discovery as Bates No. TPNF-0000881.

  210.   Attached hereto as Exhibit 207 is a true and correct copy of Defendant TTV’s

         Second Amended Interrogatory Responses.

  211.   Attached hereto as Exhibit 208 is a true and correct copy of an Excel file

         containing   a   “Balance   Sheet”    and     “Profit   &   Loss    Statement”     for

         OnePartyAmerica LLC, which Dinesh D’Souza produced to Plaintiff in discovery

         as Bates No. DD_000426.

  212.   Attached hereto as Exhibit 209 is a true and correct copy of a May 28, 2022

         communication from OnePartyAmerica LLC to DJD Creative LLC, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00059947.

  213.   Attached hereto as Exhibit 210 is a true and correct copy of an August 8, 2022

         communication from OnePartyAmerica LLC to DJD Creative LLC, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00059956.

  214.   Attached hereto as Exhibit 211 is a true and correct copy of an October 10, 2022

         communication from OnePartyAmerica LLC to DJD Creative LLC, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00059980.




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  215.   Attached hereto as Exhibit 212 is a true and correct copy of an Excel file

         containing specific theater ticket sales, which Non-Party Patricia Jackson

         produced to Plaintiff in discovery.

  216.   Attached hereto as Exhibit 213 is a true and correct copy of an email chain dating

         May 3, 2022 through May 5, 2022, which Non-Party Patricia Jackson produced to

         Plaintiff in discovery.

  217.   Attached hereto as Exhibit 214 is a true and correct copy of an Excel file

         containing “2000 Mules TicketSpice Transactions,” which Dinesh D’Souza

         produced to Plaintiff in discovery as Bates No. DD_000513.

  218.   Attached hereto as Exhibit 215 is a true and correct copy of a PDF of a May 26,

         2022 email, which Defendant True the Vote produced to Plaintiff in discovery as

         Bates No. TTV_006759.

  219.   Attached hereto as Exhibit 216 is a true and correct copy of an Excel file

         containing “Locals Streaming” figures beginning May 7, 2022, which Dinesh

         D’Souza produced to Plaintiff in discovery as Bates No. DD_000529.

  220.   Attached hereto as Exhibit 217 is a true and correct copy of an Excel file dated

         June 2022, which the D’Souza Defendants produced to Plaintiff in discovery as

         Bates No. DDR-00036037.

  221.   Attached hereto as Exhibit 218 is a true and correct copy of May 13, 2022 text

         messages between Dinesh D’Souza, Deborah D’Souza, Gregg Phillips, and

         Catherine Engelbrecht, which the D’Souza Defendants produced to Plaintiff in

         discovery as Bates No. DDR-00055986.




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  222.   Attached hereto as Exhibit 219 is a true and correct copy of a May 28, 2022

         communication from OnePartyAmerica LLC to Shadow Beach LLC, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00059952.

  223.   Attached hereto as Exhibit 220 is a true and correct copy of an August 8, 2022

         communication from OnePartyAmerica LLC to Shadow Beach LLC, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00059961.

  224.   Attached hereto as Exhibit 221 is a true and correct copy of an October 10, 2022

         communication from OnePartyAmerica LLC to Shadow Beach LLC, which the

         D’Souza Defendants produced to Plaintiff in discovery as Bates No. DDR-

         00059985.

  225.   Attached hereto as Exhibit 222 is a true and correct copy of a January 25, 2023

         email chain, which the D’Souza Defendants produced to Plaintiff in discovery as

         Bates No. DDR-00025627.

  226.   Attached hereto as Exhibit 223 is a true and correct copy of an Excel file dated

         January 25, 2023, which the D’Souza Defendants produced to Plaintiff in

         discovery as Bates No. DDR-00025625.

  227.   Attached hereto as Exhibit 224 is a true and correct copy of Plaintiff’s Exhibit 8

         from the deposition of Defendant Gregg Phillips, which is a PDF of a December

         2020 OpSec statement of work for a “Geospatial Data Analysis Project,” produced

         to Plaintiff in discovery as Bates No. TTV_009901.




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  228.   Attached hereto as Exhibit 225 is a true and correct copy of Plaintiff’s Exhibit 63

         from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

         January 2022 text chain produced to Plaintiff in discovery as Bates No.

         TTV_009763.

  229.   Attached hereto as Exhibit 226 is a true and correct copy of Plaintiff’s Exhibit 115

         from the deposition of Non-Party Bruce Schooley, which is a PDF of a January

         10, 2022 email chain produced to Plaintiff in discovery as Bates No. TPNF-

         0004925.

  230.   Attached hereto as Exhibit 227 is a true and correct copy of Plaintiff’s Exhibit 67

         from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

         December 30, 2023 email produced to Plaintiff in discovery as Bates No. DDR-

         00049474.

  231.   Attached hereto as Exhibit 228 is a true and correct copy of Plaintiff’s Exhibit 66

         from the deposition of Defendant Catherine Engelbrecht, which is a PDF of a

         March 15, 2022 email produced to Plaintiff in discovery as Bates No.

         TTV_007299.

  232.   Attached hereto as Exhibit 229 is a true and correct copy of Plaintiff’s Exhibit 62

         from the deposition of Defendant Catherine Engelbrecht, which is a PDF of an

         April 23, 2022 email chain produced to Plaintiff in discovery as Bates No.

         TTV_007432.

  233.   Attached hereto as Exhibit 230 is a true and correct copy of a March 28, 2022

         email chain, which Non-Party Nathan Frankowski produced to Plaintiff in

         discovery as Bates No. TPNF-0003503.



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  234.   Attached hereto as Exhibit 231 is a true and correct copy of an email dated April

         21, 2022, which Non-Party Nathan Frankowski produced to Plaintiff in discovery

         as Bates No. TPNF-0001150.

  235.   Attached hereto as Exhibit 232 is a true and correct copy of a PDF of a Salem

         Media Statement dated May 31, 2024.



                                              SIGNED:



                                              ______________________________

                                              Von A. DuBose




     Sworn before me this 19th day of December, 2024.




     ____________________________________

                Notary Public




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